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                         UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF NEW YORK


SET CAPITAL LLC, et al., Individually and
on Behalf of All Others Similarly Situated,

                        Plaintiffs,             Case No.: 1:18-cv-02268-AT-SN
      v.
                                                LEAD PLAINTIFFS’ AND SUDHEERA
CREDIT SUISSE GROUP AG, CREDIT                  TRIPURANENI TRUST U/A DTD
SUISSE AG, CREDIT SUISSE                        11/16/2015’S MEMORANDUM OF LAW
INTERNATIONAL, TIDJANE THIAM,                   IN SUPPORT OF THEIR CORRECTED
DAVID R. MATHERS, JANUS HENDERSON               SECOND RENEWED JOINT MOTION
GROUP PLC, JANUS INDEX &                        FOR CLASS CERTIFICATION OF THE
CALCULATION SERVICES LLC, and                   MISREPRESENTATION AND
JANUS DISTRIBUTORS LLC d/b/a JANUS              MANIPULATION CLASSES
HENDERSON DISTRIBUTORS,

                         Defendants.
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                                  DEFINITION OF TERMS

ETN – Exchange Traded Note, an unsecured debt instrument traded on a major exchange that
functions similarly to a promissory note. ETNs are one type of Exchange Traded Product.

Futures contract – a contract representing a promise to buy or sell a particular commodity or
financial instrument at a predetermined price at some future date.

Offering Documents - the Offering Documents are Credit Suisse’s (i) January 29, 2018 pricing
supplement (No. VLS ETN-1/A48) (the “January Supplement”) filed with the SEC pursuant to
Rule 424(b)(2) and in conjunction with (ii) Registration Statement No. 333-218604-02, (iii)
prospectus supplement dated June 30, 2017, and (iv) prospectus dated June 30, 2017.

VIX or VIX Index – referred to as Wall Street’s “fear index” or “fear gauge,” the VIX or VIX
Index measures market volatility by providing a value intended to reflect how much the market
thinks the S&P 500 Index will fluctuate in the 30 days from the time of each tick of the VIX Index.

VIX futures – futures contracts that allow investors to trade and/or hedge an investment position
based on their assessment of future market volatility.

XIV – The common name and trading ticker for VelocityShares Inverse VIX Short Term ETNs,
issued by Credit Suisse, sold by Janus, and traded on the NASDAQ.
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          On March 1, 2024, this Court issued an opinion (ECF No. 339, the “Second Order”) denying

Defendants’ Motion for Reconsideration (ECF No. 264) of the Court’s certification of Lead Plaintiffs’

Set Capital LLC, Stefan Jager, Aleksandr Gamburg, and Apollo Asset Limited’s (“Lead

Plaintiffs”) Securities Act Class (ECF No. 260, the “First Order”) and denying, without prejudice,

Lead Plaintiffs’ and the Sudheera Tripuraneni Trust U/A DTD 11/16/2015’s (the “Trust”) Renewed

Motion for Certification (ECF No. 299, the “First Renewed Motion”). The Court’s denial of the First

Renewed Motion turned on a concern related to a possible conflict of interest between the

Misrepresentation Class—investors who bought XIV at a price that was inflated because of

Defendants’ alleged misrepresentations and omissions and suffered losses when the truth was

revealed—and the Manipulation Class—investors who bought XIV outside of the inflated period, but

suffered losses when Defendants’ manipulative conduct caused the price of XIV to crater.

Specifically, the Court held that Lead Plaintiffs had not yet established that they were adequate to

represent the Misrepresentation Class because, as members of both classes, Lead Plaintiffs “are

functionally indifferent to whether damages are allocated to Defendants’ alleged inflationary

misrepresentations or deflationary manipulations.” Second Order at 12.1 To address this concern, the

Court granted leave for Lead Plaintiffs to refile with alternative class representation or “provide

evidence to support their statement that the pool of misrepresentation-only plaintiffs is ‘de minimis,

if they exist at all.’” Id. at 12-13. Lead Plaintiffs do the latter here, submitting evidence, in the form

of a Declaration from Professor Mitts, see Declaration of Michael Eisenkraft dated April 30, 2024

(“Eisenkraft Decl.”), Exhibit F, that establishes that misrepresentation-only plaintiffs do not exist at

all.

          In accordance with the Second Order, Lead Plaintiffs now respectfully submit to the Court its


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    Internal quotation marks and citations thereto omitted herein unless otherwise noted.


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Second Renewed Motion for Class Certification (“Second Renewed Motion”), filed herewith. The

Second Renewed Motion is substantively identical to the First Renewed Motion, apart from: (i) a

minor clarification of the definitions of the Misrepresentation and Manipulation Classes that provides

an exact time delineating these class periods on February 5, 2018; (ii) updated law firm resumes from

counsel; and (iii) the declaration of Professor Joshua Mitts, Ph.D.—whom this Court previously found

reliable and with the “education, specialized knowledge, and extensive practical experience applying

quantitative methodologies” to opine on similar topics (First Order at 10-11)—which demonstrates

that there are no XIV investors who are members of only the Misrepresentation Class.

       Pursuant to Rule 23 of the Federal Rules of Civil Procedure, Lead Plaintiffs and the Trust

(collectively, the “Proposed Class Representatives”) respectfully submit this Memorandum of Law

in support of their joint motion to: (i) certify a class of all persons and entities that purchased or

acquired the VelocityShares Inverse VIX Short Term Exchange Traded Notes (“XIV Notes,”

“Notes,” or “XIV”) between January 29, 2018, and 4:15 PM Eastern Time on February 5, 2018,

inclusive (the “Misrepresentation Class Period”), and who were damaged thereby (the

“Misrepresentation Class”); (ii) certify a class of all persons and entities that sold or redeemed

XIV Notes on or after 4:15 PM Eastern Time on February 5, 2018, (the “Manipulation Class

Period”) and who were damaged thereby (the “Manipulation Class”); (iii) certify Lead Plaintiffs

as representatives of the Misrepresentation Class; (iv) certify the Trust as the representative of the

Manipulation Class; (v) appoint Cohen Milstein Sellers & Toll PLLC (“Cohen Milstein”) and Levi

& Korsinsky, LLP (“Levi Korsinsky” and, with Cohen Milstein, “Co-Lead Counsel”) as Class

Counsel for the Misrepresentation Class; and (vi) appoint the Trust’s choice of counsel, Slarskey,

LLC (“Slarskey”), as Class Counsel for the Manipulation Class.

       In submitting this Memorandum in support of their motion, the Proposed Class




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Representatives incorporate by reference Lead Plaintiffs’ initial Motion for Class Certification, filed

on July 1, 2022, in its entirety—except for the amendments to the class definitions contained herein—

including the motion and Memorandum of Law in Support (“Memorandum”) (ECF Nos. 178-79), the

Declaration of Michael Eisenkraft dated July 1, 2022, and exhibits attached thereto (ECF No. 180),

the Reply Memorandum of Law in Support of Motion for Class Certification (ECF No. 220), and the

Declaration of Michael Eisenkraft dated December 16, 2022, and exhibits attached thereto (ECF No.

222) (collectively, the “First Motion”).

I.     INTRODUCTION

       In the First Motion, Lead Plaintiffs moved to certify three classes. First, Lead Plaintiffs moved

to certify the Misrepresentation Class, defined as:

       all persons and entities that purchased or acquired VelocityShares Inverse VIX
       Short Term Exchange Traded Notes between January 29, 2018, and February 5,
       2018, inclusive (the “Misrepresentation Class Period”), and who were damaged
       thereby).

Second, Lead Plaintiffs moved to certify the Manipulation Class defined as:

       all persons and entities that sold or redeemed the VelocityShares Inverse VIX Short
       Term Exchange Traded Notes on or after February 5, 2018 (the “Manipulation
       Class Period”) and who were damaged thereby (the “10b-5(a) and (c) Class” and,
       together with the 10b-5(b) Class, the “Exchange Act Classes”).

Third, Lead Plaintiffs moved to certify the “Securities Act Class” defined as:

       all persons and entities that purchased or acquired VelocityShares Inverse VIX
       Short Term Exchange Traded Notes pursuant to or traceable to Credit Suisse’s
       Offering Documents, and were damaged thereby (the “Securities Act Class”). The
       Offering Documents are Credit Suisse’s (i) January 29, 2018 pricing supplement
       (No. VLS ETN-1/A48) filed with the Securities and Exchange Commission
       (“SEC”) pursuant to Rule 424(b)(2) and in conjunction with (ii) Registration
       Statement No. 333-218604-02, (iii) prospectus supplement dated June 30, 2017,
       and (iv) prospectus dated June 30, 2017.

ECF No. 179 at 4-5.

       The First Motion explained in detail why each of the Classes fulfill, by a preponderance of



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the evidence, the Rule 23(b)(3) requirements of numerosity, commonality, typicality, adequacy,

superiority, and predominance. See, e.g., id. at 14-28; ECF No. 220 at 1. The Court, in its March 16,

2023, First Order, granting and denying in part the First Motion and denying Defendants’ Motion to

Exclude, largely agreed. Specifically, among other things, the Court held that Lead Plaintiffs

sufficiently demonstrated: (1) that the Securities Act Class met all of the requirements for certification

(First Order at 18-19, 26); (2) that the numerosity and commonality requirements for both the

Manipulation and Misrepresentation Classes were satisfied (id. at 23); (3) that Lead Plaintiffs and

their counsel have adequately overseen this litigation (id. at 22); (4) that the market for XIV was

efficient during the Class Period (id. at 9);2 and (5) that there was a common methodology for

determining damages for both the Manipulation and Misrepresentation Classes (id. at 12-13).

However, the Court held that Lead Plaintiffs had “not met the typicality and adequacy requirements

by a preponderance of evidence for the Exchange Act Classes” due to a potential conflict from Lead

Plaintiffs seeking to represent both the Manipulation and Misrepresentation Classes. Id. at 26. As a

result, the Court denied Lead Plaintiffs’ First Motion. Id. at 26-27. The Court, however, recognized

that the potential conflict it identified was rectifiable and denied the motion without prejudice,

expressly permitting motions to be refiled seeking the certification of the Misrepresentation Class and

the Manipulation Class with one of the two Exchange Act Classes being represented by a new

proposed class representative and a new proposed class counsel. Id. Lead Plaintiffs and the Trust then

brought the First Renewed Motion.

        The First Renewed Motion sought certification of Misrepresentation and Manipulation

Classes identical to the First Motion. However, the First Renewed Motion added a new proposed



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 Defendants did not challenge that the market for XIV Notes was efficient throughout the Class
Period. Id.


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Class Representative, the Trust, and a new proposed independent counsel, Slarskey, to represent the

Manipulation Class. With the Trust and its independent counsel seeking to represent the Manipulation

Class, the conflict issue identified by the Court in its First Order was cured and the Manipulation

Class met all of the requirements for certification.

        The Trust purchased XIV Notes only prior to the Misrepresentation Class Period and held the

overwhelming majority of its XIV Notes throughout the entire Manipulation Class Period, until it was

forced to sell at redemption. As such, it is not a member of the Misrepresentation Class and has no

interest even remotely antagonistic to or at odds with the claims of the Misrepresentation Class. See

Eisenkraft Decl. Ex. A (certification of the Trust listing applicable trades in XIV Notes). The Trust,

therefore, is not subject to the same potential conflict discussed by the Court in the First Order, as the

Trust has an interest in only “arguing that . . . the losses experienced on February 5, 2018, were entirely

the consequence of Defendants’ allegedly manipulative conduct.” See First Order at 26. Moreover, as

discussed below, the Trust is both adequate to represent the Manipulation Class and typical of its other

Manipulation Class members. And its chosen counsel, Slarskey, is a firm experienced in litigating

securities class actions that will adequately represent the interests of the Manipulation Class.

Therefore, the Court should certify the Manipulation Class, appoint the Trust as the Class

Representative of the Manipulation Class and the Trust’s counsel, Slarskey, as its Class Counsel.

        With the elimination of the potential conflict that led the Court to deny without prejudice Lead

Plaintiffs’ First Motion, Lead Plaintiffs also sought certification of the Misrepresentation Class, their

appointment as its Class Representatives, and the appointment of their counsel, Cohen Milstein and

Levi Korsinsky, as the Misrepresentation Class’s counsel. ECF No. 300. However, in its Second

Order denying class certification without prejudice, the Court raised an additional concern over

another possible conflict of interest between the Misrepresentation Class and the Manipulation Class.




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Second Order at 12. To address this concern, in the instant Motion, Lead Plaintiffs clarify the

definitions of the Misrepresentation and Manipulation Classes by adding a specific time on February

5 to delineate the class definitions, and submit the Declaration of Professor Joshua Mitts, Ph.D., whose

expert opinion confirms there are no investors who are members of only the Misrepresentation Class.

        The clarified class definitions for the Misrepresentation and Manipulation Classes for this

Motion are:

        all persons and entities that purchased or acquired VelocityShares Inverse VIX
        Short Term Exchange Traded Notes between January 29, 2018, and 4:15 PM
        Eastern Time on February 5, 2018, inclusive (the “Misrepresentation Class
        Period”), and who were damaged thereby (the “Misrepresentation Class”)

and

        all persons and entities that sold or redeemed the VelocityShares Inverse VIX Short
        Term Exchange Traded Notes on or after 4:15 PM Eastern Time on February 5,
        2018 (the “Manipulation Class Period”) and who were damaged thereby (the
        “Manipulation Class,” and, together with the Misrepresentation Class, the
        “Exchange Act Classes”).

        With these clarifications and the expert opinion of Professor Mitts, Lead Plaintiffs have

addressed the Court’s concern in its Second Order and their instant Motion should be granted. As

courts in both the Second Circuit and throughout the country routinely hold, there is no conflict with

the same lead plaintiff and class counsel representing both a Securities Act class and an Exchange

Act misrepresentation class, particularly where, as here, the same alleged false statements and

omissions form the basis for both claims. As such, the Misrepresentation Class meets all of the

requirements for certification.

        Accordingly, the Motion should be granted in its entirety.

II.     THE COURT’S MARCH 16, 2023, CLASS CERTIFICATION ORDER

        On March 16, 2023, the Court entered the First Order granting in part and denying in part

Lead Plaintiffs’ motion for class certification and appointment of class counsel. First Order at 26-27.



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In the First Order, the Court analyzed whether Lead Plaintiffs had satisfied the necessary elements of

Rule 23 to grant the First Motion. Id. at 14-27.

       Beginning its analysis with the Securities Act Class, the Court noted that “Defendants [did]

not challenge that the proposed … [c]lass satisfie[d] many of Rule 23’s requirements, including

numerosity, commonality, and superiority” but rather chose to focus on: (1) whether individualized

questions predominated over class-wide issues; (2) the ascertainability of the Class’s members; and

(3) whether “several of the class representatives suffer from various infirmities that preclude them

from serving as class representatives.” Id. at 18. The Court rejected each of Defendants’ arguments.

The Court found that “the proposed Securities Act Class satisfies the requirements of Rule 23(a)” —

i.e., numerosity, commonality, typicality, and adequacy—based on, among other things, the millions

of XIV Notes outstanding and traded during the Class Period, the numerous questions common to all

class members, including: “whether there were any misrepresentations or omissions in [the Offering

Documents] and whether any such misrepresentations or omissions were material”; the fact that Lead

Plaintiffs’ claims “arise from the same series of events … as the claims of all of the remaining class

members” because “Plaintiffs and the remaining class members all allege that Defendants misstated

and omitted material facts in the Offering Documents,” and the fact that “Plaintiffs’ interests align

with those of the proposed Securities Act Class,” and “will fairly and adequately protect the interests

of the proposed class.” Id. at 18–19.

       As to the requirements of Rule 23(b)(3), the Court concluded that “a class action is superior

to other methods of adjudicating this controversy” because “the alternatives are either no recourse for

thousands of stockholders or a multiplicity and scattering of suits with the inefficient administration

of litigation which follows in its wake,” and found that Defendants’ contentions regarding

individualized questions were overstated. Id. at 20-22. First, as to the question of tracing, the Court




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held that “tracing is a merits issue that [it] need not consider at the class certification stage,” and

furthermore that, while “traceability may require individualized inquiries, the potential for such

inquiries alone does not defeat predominance[.]” Id. at 20-21. Second, the Court dismissed

Defendants’ argument that “individualized inquiries into each investor’s individual knowledge of the

alleged misconduct predominate over class-wide questions” because “news stories and other publicly

available information raise issues of knowledge, actual or constructive, subject to generalized proof,

and apply to the whole class.” Id. at 21. As to ascertainability, the Court found that Defendants had

conflated the operative legal standard—whether a class can be “defined using objective criteria that

establish a membership with definite boundaries”—with a requirement that the Court prematurely

determine whether a proposed class is “administratively feasible.” See id. at 18, 21-22. Finally, the

Court found, without objection, that Lead Plaintiffs’ chosen counsel were “able to fairly and

adequately represent the interests of the proposed Securities Act Class.” Id. at 22. Therefore, the Court

certified the Securities Act Class, appointed Lead Plaintiffs as the Class Representatives for the

Securities Act Class, and appointed Co-Lead Counsel as the Class Counsel for the Securities Act

Class. Id. at 22, 26.

        The Court then conducted a similar analysis for Lead Plaintiffs’ proposed Exchange Act

Classes. The Court found “for substantially the same reasons [as] for the Securities Act Class,” the

numerosity and commonality requirements were satisfied for both Exchange Act Classes. Id. at 23.

The Court also found that Lead Plaintiffs proposed a common methodology to be applied for

determining damages for both Exchange Act Classes (id. at 10-13), and that the market for XIV was

efficient throughout the Class Period—an element that Defendants conceded. Id. at 9.3 In evaluating



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 The Court’s findings regarding commonality (that numerous “common questions to all class
members, including “whether there were any misrepresentations or omissions in [the Offering



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the Lead Plaintiffs’ typicality and adequacy, however, while the Court noted that “any potential seller-

purchaser conflict is not grounds for denying class certification,” as it is “a question for the damages

stage of litigation, not class certification[,]” the Court “agree[d] with Defendants that … the

Misrepresentation and Manipulation Classes … are in direct conflict with each other.” Id. at 24.4

        Specifically, the Court held that “the total sum of out-of-pocket damages will be attributable

either to the alleged artificial inflation from Defendants’ misrepresentations or the alleged deflation

from Defendants’ manipulative conduct” and, as such, “damages calculated for … [the]

Misrepresentation Class are higher if the price decline … is attributed to … the materialization of the

risk … whereas damages calculated for the … Manipulation Class are higher if the price decline …

is attributed to Defendants’ manipulative conduct.” Id. at 24-25. In other words, the Court reasoned

that the recovery between the Misrepresentations and Manipulation Classes is a zero-sum game, and

where in time the line is drawn between Defendants’ misrepresentations (which had an inflationary

impact on the price) and Defendants’ manipulation (which had a deflationary impact on the price)

puts the Classes in conflict. See id. at 24-26. Despite this finding, the Court made clear that this issue



Documents] and whether any such misrepresentations or omissions were material” (id. at 18) and
rejecting Defendants’ argument that “individualized inquiries into each investor’s individual
knowledge of the alleged misconduct” do not predominate over class wide questions (id. at 21))
and superiority (“a class action is superior to other methods of adjudicating this controversy” because
“the alternatives are either no recourse for thousands of stockholders or a multiplicity and scattering
of suits with the inefficient administration of litigation which follows in its wake” (id. at 20)) for the
Securities Act Class are equally applicable to the Exchange Act Classes.
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  Notably, however, the Court’s findings regarding the typicality and adequacy of the Lead
Plaintiffs as it pertains to the Securities Act Class (that Lead Plaintiffs’ claims “arise from the same
series of events … as the claims of all of the remaining class members” because
“Plaintiffs and the remaining class members all allege that Defendants misstated and omitted material
facts in the Offering Documents”, (id. at 19) and that “Plaintiffs’ interests align with those of the
proposed Securities Act Class,” and “will fairly and adequately protect the interests of the proposed
class” (id.)) are equally applicable to the Misrepresentation Class, as is the Court’s finding that
Cohen Milstein and Levi Korsinsky “are able to fairly and adequately represent the interests of the
Securities Act Class.” Id. at 22.


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was not a fatal one. Rather, the Court noted that the motions to certify both Exchange Act Classes

were denied “without prejudice to refiling by alternative class representatives and counsel[.]” Id. at

26-27.

III.     THE COURT’S MARCH 16, 2023, DAUBERT ORDER

         In addition to opposing Class Certification, Defendants moved to exclude the July 1, 2022,

expert report of Professor Mitts. The Court denied Defendants’ motion in full.

         First, the Court rejected Defendants’ argument that Professor Mitts failed “to provide a

sound and reliable methodology” for separating the purported “overlapping and conflicting

theories of damages” between the Misrepresentation and Manipulation Class was without basis.

Id. at 9-14. Specifically, the Court held Professor Mitts adequately “addresse[d] and dispute[d]”

Defendants’ “premise that the damages of the two classes overlap” by explaining that “his out-of-

pocket methodology does not lead to a double recovery because the price of XIV Notes cannot be

simultaneously inflated and deflated, and his methodology ensures that Plaintiffs can separately

recover the damages from Defendants’ alleged misrepresentation and the damages from

Defendants’ alleged manipulation.” Id. at 10. The Court also found that Professor Mitts’s opinion

was “reliably supported by [his] education, specialized knowledge, and extensive practical

experience applying quantitative methodologies.” Id. at 10-11.

         Second, the Court “reject[ed] Defendants’ argument that Mitts’ methodology for

measuring the Manipulation Class’ damages [wa]s unsound and unreliable.” Id. at 12-13.

IV.      THE COURT’S MARCH 1, 2024, CLASS CERTIFICATION ORDER

         On May 16, 2023, Lead Plaintiffs filed the First Renewed Motion, wherein they moved for:

(i) certification of the Misrepresentation and Manipulation Classes, as then defined; (ii) certification

of Lead Plaintiffs as Class Representatives of the Misrepresentation Class; (iii) certification of the

Trust as Class Representative of the Manipulation Class; (iv) appointment of Cohen Milstein and Levi


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Korsinsky as Class Counsel for the Misrepresentation Class; and (v) appointment of the Trust’s

counsel, Slarskey, as Class Counsel for the Manipulation Class. On March 1, 2024, this Court denied

the Renewed Motion on adequacy grounds. Second Order at 12.5

       The Court made this determination based upon a finding that, as members of both the

Manipulation Class and the Misrepresentation Class, Lead Plaintiffs “are functionally indifferent to

whether damages are allocated to Defendants’ alleged inflationary misrepresentations or deflationary

manipulations.” Id. at 12. In other words, the Court raised concerns regarding whether the interests of

those investors who are only members of the Misrepresentation Class would be adequately

represented. Because the Court “recognize[d] that the number of misrepresentation-only plaintiffs

may be few,” id. at 12, based on Lead Plaintiffs’ arguments that “the pool of such individuals [is] de

minimis, if they exist at all,” ECF No. 321 at 3 n.2, the Court ordered a further submission from Lead

Plaintiffs before it could make a final ruling on adequacy.

       To that end, the Court granted leave for Lead Plaintiffs to refile with alternative class

representation or “provide evidence to support their statement that the pool of misrepresentation-only

plaintiffs is de minimis, if they exist at all.” Second Order at 12-13. By way of Professor Mitts’s

Declaration, submitted herewith (Eisenkraft Decl., Ex. F (“Mitts Decl.”)), and minor clarifications of

the Exchange Act Classes’ definitions, Lead Plaintiffs satisfy this Court’s request by demonstrating

that misrepresentation-only plaintiffs do not exist and both the Misrepresentation Class and the

Manipulation Class should be certified.

V.     LEGAL ARGUMENT

               A Separate Class Representative and Class Counsel for the Manipulation
               Class Eliminate the Court’s Concerns Regarding a Potential Conflict


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  The Court also denied Defendants’ motion for reconsideration of the certification of the
Securities Act Class. Id. at 4-6.


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        In response to the Court’s First Order, the Trust seeks appointment as Class Representative

on behalf of the Manipulation Class and the appointment of the counsel it retained, Slarskey, as Class

Counsel for the Manipulation Class. The addition of the Trust and Slarskey as separate and

independent representatives and counsel for the Manipulation Class squarely addresses the Court’s

stated concern in the First Order, as recognized by the Court in the Second Order: because “the Trust

is only a member of the Manipulation Class,” it is “positioned to represent the interests of that class.”

Second Order at 11. As such, the Court should certify the Manipulation Class and appoint the Trust

as its Class Representative and Slarskey as its Class Counsel.

        As detailed in the Amended Consolidated Complaint,6 Defendants’ manipulative plan was

“to close out XIV while pocketing millions at the expense of its investors.” ECF No. 190 at ¶¶ 155-

170.7 Defendants’ machinations enabled Credit Suisse “to profit at its investors’ expense.” Id. at ¶

209;8 see also Set Capital LLC v. Credit Suisse Grp. AG, 996 F.3d 64, 79 (2d Cir. 2021) (“the

complaint invites a reasonable inference that Credit Suisse increased the volume of XIV Notes for a

manipulative purpose—specifically, to ensure that Credit Suisse’s hedging trades would destroy the

value of XIV Notes during the next volatility spike so that Credit Suisse could profit by declaring an



6
  To avoid confusion, Lead Plaintiffs and the Trust cite to the Amended Consolidated Class Action
Complaint, which is presently the operative complaint, but note that they have moved for leave to
file the Consolidated Third Amended Class Action Complaint (“TAC”) (ECF Nos. 304-05) and
that Plaintiffs’ Objections to Magistrate Judge Netburn’s Opinion & Order Denying Plaintiffs’
Motion for Leave to Amend the Pleadings is pending (ECF Nos. 337, 338). Accordingly, Lead
Plaintiffs and the Trust are also providing citations to the TAC.
7
 See TAC ¶¶ 199-214; see also TAC ¶¶ 206-07 (Defendants’ manipulative plan was to “rid itself
of XIV while making hundreds of millions of dollars at investors’ expense,” having effectively
“soaked the XIV market in gasoline throughout the fall of 2017 and early 2018,” and needing only
“a volatility spike to provide a spark”).
8
 See TAC ¶ 212 (Defendants’ actions also “dramatically reduce[d] the redemption costs [they]
would have had to pay to investors as Credit Suisse continued driving a liquidity squeeze in the
VIX futures market”).


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Acceleration Event”).

        The Manipulation Class is, therefore, a “seller class,” meaning that Defendants’ improper,

manipulative misconduct caused the price of XIV Notes to decline and, as a result, Manipulation

Class members “sold [or redeemed] at a price that was artificially lower than the investor should

have received.” Levie v. Sears, Roebuck & Co., 496 F. Supp. 2d 944, 948 (N.D. Ill. 2007). Seller

classes are routinely certified. See, e.g., id.; see also Kaplan v. S.A.C. Cap. Advisors, L.P, 311

F.R.D. 373, 376-77 (S.D.N.Y. 2015) (certifying “seller class” under the securities laws). In

discussing its reasoning for not certifying the Manipulation and the Misrepresentation Classes due

to typicality and adequacy concerns, the Court determined that the Manipulation Class—with class

members’ damages attributable to deflationary price movements caused by Defendants’

manipulative conduct—is in tension with the Misrepresentation Class—wherein damages are

attributable to artificial inflation caused by alleged misrepresentations. First Order at 24-26. As

evidenced by the Trust’s certification, the Trust purchased its Notes on November 13, 2017—well

before the artificial inflation was introduced into the market as a result of the alleged

misrepresentations at issue in the Misrepresentation Class—and (aside from a sale of a portion of its

holdings later in November 2017) sold its entire position in the XIV Notes on February 6, 2018, after

the February 5 events for which the Manipulation Class seeks damages for the deflation of the XIV

Notes, caused by Defendants’ manipulative misconduct. See Eisenkraft Decl., Ex. A (Trust’s

certification attaching its trades in XIV Notes).9



9
  As the Court held regarding Lead Plaintiff Gamburg as it pertained to the Securities Act Class,
the fact that a class representative may have sold some XIV Notes and even profited from those
purchases prior to the end of the Class Period does not mean that the class representative is
inadequate or atypical, particularly where, as here, the Trust held the majority of its XIV Notes
through the end of the Class Period and suffered losses on those purchases. See First Order at 19-
20.


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        Thus, as the Trust did not purchase XIV Notes during the Misrepresentation Class Period, it

is not a member of the proposed Misrepresentation Class (and therefore did not purchase XIV Notes

at the alleged artificially inflated prices as a result of the alleged misrepresentations in the

Misrepresentation Class).10 Rather, the Trust is a member of only the proposed Manipulation Class

by virtue of its sale of XIV Notes on February 6, 2018. Thus, the Trust has no interests in any class

other than the Manipulation Class. Likewise, Slarskey, as the Trust’s counsel, represents only the

Trust and seeks to represent only the Manipulation Class. The Court recognized as much in the Second

Order, finding that “the Trust is only a member of the Manipulation Class, and is positioned to

represent the interests of that class.” Second Order at 11.

        In sum, the addition of the Trust and Slarskey as separate and independent representatives

and counsel of the Manipulation Class obviates the Court’s stated concerns regarding adequacy and

typicality and provides ample basis for the Court to grant the present Motion and certify the

Manipulation Class alongside the other Classes. In situations such as this, federal courts, including

in this District, have readily recognized that any perceived conflict of interest may be addressed by

the appointment of separate representatives or separate counsel. See, e.g., Ortiz v. Fibreboard Corp.,

527 U.S. 815, 856 (1999) (subclass with separate class representatives and counsel eliminates any

conflict of interest); In re LIBOR-Based Fin. Instruments Antitrust Litig., 299 F. Supp. 3d 430, 464

(S.D.N.Y. 2018) (“[W]hen conflicts exist between class members, they can be cured by dividing the

class into separate homogeneous subclasses ... with separate representation to eliminate conflicting

interests.”).




10
  The Trust is also not a member of the Securities Act Class, as its purchases pre-date the January
Offering.


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               1.       The April 30, 2024, Mitts Declaration

       In his April 30, 2024, Declaration, Professor Mitts explains that the Misrepresentation Class

is necessarily a subset of the Manipulation Class, and thus “there are no members of the

Misrepresentation Class who are not also members of the Manipulation Class.” Mitts Decl. ¶ 6. To

support this conclusion, Professor Mitts considers the two theoretical possibilities by which a

Misrepresentation Class member might not be a Manipulation Class member: (i) the purchaser

acquired XIV Notes after Defendants’ alleged manipulation concluded, but before the truth regarding

Defendants’ misrepresentations had been revealed; or (ii) the truth regarding Defendants’ alleged

misrepresentations was revealed before Defendants’ alleged manipulative acts or conduct occurred.

Mitts Decl. ¶¶ 22-23.

       As to the first possibility, the “clarified definition of the Misrepresentation Class makes it

clear that it does not include individuals or entities that purchased XIV Notes after 4:15 pm on

February 5, 2018—the conclusion of Defendants’ allegedly manipulative acts.” Mitts Decl. ¶ 6.

       As to the second possibility, Professor Mitts scoured SEC filings, analyst reports, and news

publications from the afternoon of February 5, 2018, “for disclosures that might have revealed the

truth regarding Defendants’ alleged misrepresentations and omissions concerning XIV Notes before

Defendants’ manipulative acts or conduct took place.” Mitts Decl. ¶ 11. The only relevant

publications Professor Mitts found were published after 4:15 PM Eastern Time, and thus could not

have revealed the truth prior to the manipulative acts or conduct. Mitts Decl. ¶¶ 12-13. Accordingly,

there is no “evidence to indicate that the truth regarding Defendants’ alleged misrepresentations and

omissions concerning XIV Notes was revealed to the market before Defendants’ manipulative acts or

conduct began.” Mitts Decl. ¶ 14.

       With each of these possibilities considered and dismissed, Professor Mitts concluded that




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“there are no members of the Misrepresentation Class who are not also members of the Manipulation

Class.” Mitts Decl. ¶ 25.

                The Misrepresentation Class Should be Certified and the Lead Plaintiffs
                Appointed as its Class Representatives and their Counsel as its Class Counsel

        With the Court’s concerns over a potential conflict between the Manipulation and

Misrepresentation Class eliminated, no issues remain that would prevent the Court from certifying

the Misrepresentation Class, appointing the Lead Plaintiffs as its Class Representatives, and Co-Lead

Counsel as Class Counsel. Given the Court’s findings in its Order, the only outstanding question is

whether Lead Plaintiffs are typical and adequate to represent the Misrepresentation Class. The

Court should find that these elements have been met for the reasons herein and for the reasons set

forth in Lead Plaintiffs’ First Motion. See ECF No. 179 at 14-28.

        First, in its First Order, the Court found that the numerosity, commonality and superiority

requirements were satisfied (First Order at 22-23), that the market for XIV was efficient (id. at 9

(“Defendants [do not] challenge Mitts’ opinion that the market for XIV was efficient[.]”)), that the

Misrepresentation Class’s damages were subject to a common methodology (id. at 12-13, 20-21),

and that Lead Plaintiffs had adequately overseen this litigation and had selected adequate counsel.

Id. at 21. In addition, its findings that Lead Plaintiffs’ claims “arise from the same series of events …

as    the     claims        of   all    of     the        remaining    class     members”       because

“Plaintiffs and the remaining class members all allege that Defendants misstated and omitted material

facts in the Offering Documents,” and that “Plaintiffs’ interests align with those of the proposed

Securities Act Class,” and “will fairly and adequately protect the interests of the proposed class” with

regard to the Securities Act Class, are equally applicable to the Misrepresentation Class. Id. at 19.

        Second, as the Court recognized implicitly in its First Order, no conflict exists between the

Securities Act Class and the Misrepresentation Class. This is because where, as here, the two classes



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allege misconduct based on the same misstatements (see ECF No. 190 at ¶¶ 215-28 (alleging

misstatements in the Offering Documents as basis for Misrepresentation Class claims); id. at ¶¶ 294-

305 (alleging misstatements in the Offering Documents as basis for Securities Act claims)), the

interests of the two classes pull entirely in the same direction and the Court’s concerns about

potentially opposing interests regarding the Manipulation Class and Misrepresentation Class do not

exist.

         Thus, no conflict exists between these two Classes that will prevent the appointment of the

Lead Plaintiffs as the Class Representatives for both the Securities Act and Misrepresentation

Classes and of Co-Lead Counsel as Class Counsel for the Securities Act and Misrepresentation

Classes.11 See, e.g., In re Flag Telecom Holdings, Ltd. Sec. Litig., 574 F.3d 29, 35-37 (2d Cir. 2009)

(affirming in relevant part the district court’s order of typicality, noting that “that any antagonistic

interests with respect to causation do not constitute the type of ‘fundamental’ conflict that renders

the class uncertifiable”); Wallace v. IntraLinks, 302 F.R.D. 310, 319 (S.D.N.Y. 2014) (appointing

one plaintiff as class representative for both Exchange Act class and Securities Act sub-class and its

counsel, Cohen Milstein, as Class Counsel).

         Therefore, it is not surprising that courts in this and other Districts routinely certify

misrepresentation classes arising under Section 10(b) of the Exchange Act and Section 11 of the

Securities Act that share the same class representatives and class counsel. See, e.g., In re Patriot

Nat’l, Inc. Sec. Litig., 828 F. App’x 760, 764-65 (2d Cir. 2020) (in class action settling Exchange


11
   Although loss causation is not an element of a Section 11 claim, Defendants may raise a
“negative causation” defense, but have not done so here. See 15 U.S.C. §77l(b) (providing loss
causation defense to reduce damages “if the person who offered or sold such security proves that
any portion or all of the amount recoverable . . . represents other than the depreciation in value of
the subject security resulting from such part of the prospectus or oral communication, with respect
to which the liability of that person is asserted, not being true or omitting to state a material
fact….”).


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Act and Securities Act claims by the same class representatives and counsel and affirming district

court’s finding of adequacy as “no fundamental conflict among the class members such that sub-

classing was required” as “[a]ll of the lead plaintiffs and every shareholder had an Exchange Act

claim”); In re Flag Telecom Holdings, 574 F.3d at 35-37 (affirming district court’s holding that no

sub-classing was necessary because the Securities Act and Exchange Act claims were not

antagonistic to each other); Re Coll. Bound Consol. Litig., No. 93-cv-2348 (MBM), 1994 WL

236163 (S.D.N.Y. May 31, 1994) (declining to require subclasses for the Exchange Act and

Securities Act claims and appointing plaintiffs as class representatives for claims under both Acts);

In re Deutsche Telekom Ag Sec. Litig., 229 F. Supp. 2d 277, 283 (S.D.N.Y. 2002) (same); In re Teva

Sec. Litig., No. 3:17-CV-558 (SRU), 2021 WL 872156, at *42 (D. Conn. Mar. 9, 2021) (certifying

class that includes Securities and Exchange Act claims); Hawaii Structural Ironworkers Pension Tr.

Fund, Inc. v. AMC Ent. Holdings, Inc., 338 F.R.D. 205, 219 (S.D.N.Y. 2021) (certifying Exchange

Act and Securities Act classes and appointing the same plaintiffs and counsel as the class

representatives and class counsel for both classes); Wallace, 302 F.R.D. at 319 (same).

       Therefore, for the reasons detailed by Lead Plaintiffs in the First Motion, and other

documents incorporated by reference and herein, Lead Plaintiffs have made the requisite showing

and meet all of Rule 23’s requirements to certify the Misrepresentation Class.

               The Manipulation Class Should be Certified and the Trust Appointed as its
               Class Representative and its Counsel as its Class Counsel

       As previously set forth in the First Motion, typicality under Rule 23(a)(3) requires “only that

the disputed issues of law or fact occupy essentially the same degree of centrality to the named

plaintiff’s claim as to that of other members of the proposed class.” ECF No. 179 at 12 (quoting

In re MF Glob. Holdings Ltd. Inv. Litig., 310 F.R.D. 230, 236 (S.D.N.Y. 2015)). The “claims only

need to share the same essential characteristics, and need not be identical[.]” Dial Corp. v. News



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Corp., 314 F.R.D. 108, 113 (S.D.N.Y. 2015). When determining whether the claims are typical, “the

focus must be on the defendants’ behavior and not that of the plaintiffs.” Teachers Ret. Sys. of La. v.

ACLN Ltd., No. 01-cv-11814-LAP, 2004 WL 2997957, at *4 (S.D.N.Y. Dec. 27, 2004). Courts in

this district have emphasized that the typicality requirement is “not demanding.” In re Deutsche Bank

AG Sec. Litig., 328 F.R.D. 71, 80 (S.D.N.Y. 2018). Here, this threshold is easily met as the Trust’s

claims are typical of the claims of all other proposed Class members in the Manipulation Class.

       In the First Order, the Court held that the Manipulation Class, like the Securities Act Class

and the Misrepresentation Class, satisfies the numerosity and commonality requirements of Rule

23(a). First Order at 23. In addition, the Court found that there was a common methodology for

determining damages for the Exchange Act Classes. Id. at 12-13, 18-20. Finally, the Court already

determined that the market for XIV was efficient. Id. at 9 (“Defendants [do not] challenge Mitts’

opinion that the market for XIV was efficient[.]”).

       Thus, like for the Misrepresentation Class, the only outstanding issue is whether the proposed

Class Representative is typical and adequate to represent the Manipulation Class. Here, as the Court

implicitly recognized in its Second Order, the Trust is both typical and adequate.

       First, the Trust did not purchase XIV Notes artificially inflated by the alleged January 29,

2018, misrepresentations (and could not have, given the timing of its transactions), so the Trust is a

member only of the Manipulation Class. Although there may be members of the Manipulation Class

who are also members of the Securities Act Class and/or the Misrepresentation Class, the Trust (as

a member of only the Manipulation Class) is interested in maximizing damages attributable to

Defendants’ manipulative misconduct only. Likewise, Slarskey represents only the Manipulation

Class and not the Misrepresentation or Securities Act Classes and is, therefore, likewise motivated.

Given that the Trust and the Manipulation Class’s claims are based upon the very same facts and




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legal theories and will be proven by the same evidence, typicality is satisfied, as courts regularly

find under similar circumstances. See, e.g., In re Deutsche Bank AG, 328 F.R.D. at 81 (finding

typicality where the “Court has found that all class members’ claims arise from a single, common

course of conduct committed against all members of the class”). Also, there are no defenses unique

to the Trust. See First Order at 19 (holding that in and out trading does not render a class

representative inadequate or atypical). See also MF Global Holdings, 310 F.R.D. at 236-37

(finding in the absence of sufficient evidence, no unique defense present).

        Second, the Trust and Slarskey are more than adequate to represent the interests of the

Manipulation Class. The Trust does not have any interests that are antagonistic to the interests of other

members of the Manipulation Class, and it has selected qualified and experienced counsel that is able

to undertake the litigation. See, e.g., In re Deutsche Bank AG, 328 F.R.D. at 81-84. Moreover, the

Trust has taken time to inform itself about the nature of the case, is committed to maximizing the

recovery on behalf of the Manipulation Class, will closely monitor the litigation, and will oversee

Slarskey’s prosecution of claims on behalf of the Manipulation Class. See Eisenkraft Decl., Ex. B

(Declaration by Trustee of the Trust).

        Indeed, even before deciding to move for appointment as a class representative, the Trust

monitored the litigation and communicated with Lead Counsel regarding the status of the case and

the efforts to maximize recoveries to injured investors in the Notes. Furthermore, as detailed in

Ms. Tripuraneni’s accompanying declaration, she intends to continue to review pleadings and

other court filings, participate in litigation decisions, and monitor counsel, all while prosecuting

the case in the best interests of the Manipulation Class. Ms. Tripuraneni has also conferred with

the Court-appointed Class Representatives of the Securities Act Class and Manipulation Class, and

is prepared to further confer with those Class Representatives as appropriate as the litigation




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proceeds. See id. And there is no conflict between the interests of the Trust, which is focused on

maximizing recovery to the Manipulation Class, and other members of the Manipulation Class,

each of whom will recover their fair, proportionate share of any recovery. The Trust accordingly

has the “same set of concerns” as other members of the Manipulation Class. In re Deutsche Bank

AG, 328 F.R.D. at 82.

         Additionally, the Trust has also satisfied the adequacy element by selecting Slarskey as its

counsel who will vigorously prosecute this action and has extensive experience in successfully

representing investors in securities class actions. See infra Section D. Thus, both elements of Rule

23(a)(4) are met.

                The Court Should Appoint Lead Plaintiffs’ and The Trust’s Choices of
                Counsel to Represent the Respective Classes as Class Counsel.

         In addition to the Co-Lead Counsel’s and Slarskey’s satisfaction of Rule 23(a)(4)’s

requirement that they will “fairly and adequately represent the interests of the class,” the factors

enumerated in Rule 23(g) weigh in favor of appointing Cohen Milstein and Levi Korsinsky as

Class Counsel for the Misrepresentation Class and Slarskey as Class Counsel for the Manipulation

Class.

         As the Court has already recognized, Cohen Milstein and Levi Korsinsky satisfy these

criteria because, among other reasons, they have “diligently investigated the claims in this case,

drafted a detailed complaint, survived a motion to dismiss on appeal, and have further investigated

the claims in discovery.” First Order at 22. Additionally, they have extensive experience in class

action litigation. Id. See also Eisenkraft Decl., Exs. C and D (Cohen Milstein’s and Levi

Korsinsky’s firm resumes).

         Moreover, as evidenced by its firm resume, Slarskey, a New York-based litigation

boutique, is well qualified to represent the Manipulation Class. The firm’s attorneys have extensive



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experience representing investors in securities class actions, as well as representing investors and

other clients raising individual and class claims in complex commercial litigation matters. See

Eisenkraft Decl., Ex. E (Slarskey firm resume). Adam Hollander recently joined Slarskey as a

partner after a decade at a leading national securities class action firm, where he served as a partner.

Prior to entering private practice, Mr. Hollander graduated from Yale Law School and served as a

federal judicial law clerk on the U.S. Court of Appeals for the Second Circuit and in the U.S.

District Court for the District of Connecticut. He was a senior member of litigation teams that

recovered over $700 million for investors, including multiple settlements of $100 million or

greater, in this District and others. See, e.g., Woburn Ret. Sys. v. Salix Pharms., Ltd., Case No.

1:14-cv-08925-KMW (S.D.N.Y.) ($210 million recovery); Lehigh Cnty. Emps.’ Ret. Sys. v. Novo

Nordisk A/S, Case No. 3:17-cv-00209-ZNQ (D.N.J.) ($100 million recovery after summary

judgment fully briefed); In re Volkswagen “Clean Diesel” Mktg., Sales Practices, & Prods. Liab.

Litig., Case No. 3:15-md-02672-CRB (N.D. Cal.) ($48.5 million recovery); In re SunEdison, Inc.

Sec. Litig., Case No. 1:16-md-02742-PKC ($74 million recovery on behalf of investors raising

Securities Act and Exchange Act claims concerning bankrupt issuer); Bach v. Amedisys, Case No.

3:10-cv-00395-BAJ (M.D. La.) ($43.75 million recovery following successful appeal to Fifth

Circuit).

        In addition to Mr. Hollander’s experience, Slarskey lawyers have successfully represented

clients in complex matters, at both trial and appellate levels, in federal and state courts and

alternative dispute resolution fora. See Eisenkraft Decl., Ex. E. Slarskey’s recent notable successes

include securing a reversal in the U.S. Court of Appeals for the First Circuit of the district court’s

dismissal of a class action alleging unfair and deceptive business practices and accounting

malfeasance, Kleiner v. Cengage Learning Holdings II, Inc., 66 F.4th 28, (1st Cir. 2023), and




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securing class certification on behalf of a class of black car drivers seeking to enforce their

franchise rights, with Slarskey appointed class counsel, Buttar v. Elite Limousine Plus, Inc., Index

No. 651088/2019, 2022 WL 912142, at *16 (Sup. Ct. N.Y. Mar. 29, 2022). Slarskey also has

served as counsel in other class and collective actions, including Lobbe v. Cablevision Systems,

Case No. 1:16-cv-2207-AKH (S.D.N.Y.); Knox v. Cengage Learning Holdings II, Case No. 1:18-

cv-4292-GBD (S.D.N.Y.); Orion Property Group, LLC v. Hjelle, Case No. 2:19-cv-00044-JS

(E.D.N.Y.); and Hull v. Cengage Learning Holdings II, Inc., No. 19-cv-7662 (S.D.N.Y.).

         Since becoming involved with this litigation, Slarskey has acted diligently in preparing to

represent the interests of the Manipulation Class by reviewing the pleadings and other publicly

available information, and having extensive discussions with Lead Counsel concerning the status

of the litigation and the need for the Manipulation Class to be adequately represented by

experienced, independent counsel. Additionally, Slarskey has the resources to effectively pursue

and vigorously prosecute those claims on behalf of the Manipulation Class.

         Thus, the requirements of Rule 23(a)(4) and 23(g) are satisfied. Accordingly, the Lead

Plaintiffs respectfully submit that their choice of counsel, Cohen Milstein and Levi Korsinsky, be

appointed as the Class Counsel for the Misrepresentation Class. Similarly, the Trust respectfully

submits that its choice of counsel, Slarskey, be appointed as the Class Counsel for the Manipulation

Class.

VI.      CONCLUSION

         For the foregoing reasons, Lead Plaintiffs and the Trust respectfully request that the Court:

(i) certify the Misrepresentation and Manipulation Classes as a class action pursuant to Rules 23(a)

and (b)(3) of the Federal Rules of Civil Procedure; (ii) certify Lead Plaintiffs as representatives of

the proposed Misrepresentation Class; (iii) certify the Trust as the representative of the proposed

Manipulation Class; (iv) appoint Cohen Milstein and Levi Korsinsky as Class Counsel for the


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proposed Misrepresentation Class; and (v) appoint Slarskey as Class Counsel for the proposed

Manipulation Class.

Dated: April 30, 2024                            Respectfully submitted,



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